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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

  STATE OF MISSOURI,
  STATE OF NEBRASKA,
  STATE OF ALASKA,
  STATE OF ARKANSAS,
  STATE OF IOWA,
  STATE OF MONTANA,                       No. 4:21-cv-01300
  STATE OF NEW HAMPSHIRE,
  STATE OF NORTH DAKOTA,
  STATE OF SOUTH DAKOTA,
  STATE OF WYOMING,

               Plaintiffs,

    v.

  JOSEPH R. BIDEN, et al.,

               Defendants.



               PLAINTIFFS’ SUPPLEMENTAL MEMORANDUM IN
                   SUPPORT OF PERMANENT INJUNCTION
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                                        INTRODUCTION

         Does a law centralizing management of procurement in the President allow the federal

government to require an employee to get a COVID-19 vaccine because that employee may share

a parking lot with a coworker who is in some way working on a federal contract? It does not.

There is no textual or contextual reason to believe that Congress, when it passed the Procurement

Act to centralize and rationalize the procurement process, also empowered the President to

mandate vaccines for people who do not even work on federal contracts—all in the name of public

health. Such a reading is unconstitutional and contrary to established principles of statutory

interpretation. Yet the Government ignored all those principles in issuing the unprecedented

contractor mandate. It also ignored procedural requirements that would have flagged those issues,

which simply underscores that the mandate cannot withstand scrutiny. Two courts have already

issued preliminary injunctions barring enforcement of the mandate, for essentially the same

reasons laid out here. Courts around the country have blocked this administration’s other vaccine

mandates for similar reasons as well. This Court should do the same

                          FACTUAL AND PROCEDURAL HISTORY

         Plaintiff States incorporate the relevant factual history and documentation set out in their

memorandum in support of a motion for a preliminary injunction, ECF 9, at 2–15, and the parties’

Joint Statement of Material Facts, ECF 27, including the Declaration of Michael E. Talent and

attached exhibits, ECF 27-1. 1 This Court has allowed supplemental briefing on Plaintiff States’

request for a permanent injunction on certain claims. See ECF 26, at 2. Plaintiff States understand

this to include all claims that do not require the administrative record. Those claims fall into one

of three categories: (1) that the Procurement Act does not authorize the contractor mandate (Counts


1
  Citations of exhibits refer to the exhibits attached to the Talent Declaration. Because Exhibit H
is not separately paginated, page number citations reference the declaration’s pagination.


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One, Six (¶ 132), Seven, and Eight); (2) that Defendants failed to respect the required procedures

in issuing the contractor mandate (Counts Two, Five, and Nine (¶ 157)); 2 and (3) that the contractor

mandate is unconstitutional (Counts Three, Four, Six (¶ 132), Ten, Eleven, and Twelve).

                                           ARGUMENT 3

I.       There are no jurisdictional or other barriers to reaching the merits.

         Standing: The Government has not questioned Plaintiff States’ standing in this case. Nor

can it reasonably do so. The facts readily show that Plaintiff States have standing. See Georgia v.

Biden, 2021 WL 5779939, at *6–7 (S.D. Ga. Dec. 7, 2021); Kentucky v. Biden, 2021 WL 5587446,

at *3–5 (E.D. Ky. Nov. 30, 2021).

         Standing requires (1) an injury in fact (2) fairly traceable to the defendants’ conduct and

(3) likely to be redressed by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–

61 (1992). Only one plaintiff “needs to have standing” to permit judicial review. Massachusetts v.

EPA, 549 U.S. 497, 518 (2007). Standing is plainly satisfied here because the Government admits

that the mandate has already been applied to at least one of Plaintiff States’ contracts. See ECF

20, at 37 n.16 (discussing ECF 9-7); Georgia, 2021 WL 5779939, at *6 (finding standing because

mandate applied to one contract a State was pursuing).

         In addition, Plaintiff States have standing because some of their contracts are set to renew

“sometime in the relatively near future.” Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 211

(1995). Plaintiff States are parties to many federal contracts subject to the mandate, and several

of those are scheduled to renew in the next nine months. See, e.g., ECF 9-6, ¶ 4; ECF 9-10, ¶¶ 3–

5; ECF 9-11, ¶¶ 4, 6, 8–11 (contracts renewing in December 2021, May 2022, and August 2022);


2
  To the extent the Court believes the notice requirements turns on factual records before the
agency, Plaintiff States request the Court refrain from ruling on them here.
3
  Plaintiff States also incorporate by reference the arguments in their memorandum in support of a
preliminary injunction, ECF 9, and their reply in support of a preliminary injunction, ECF 23.


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ECF 9-12, ¶ 5 (expecting $100 million in “multi-year federal contracts” in “the coming months”);

ECF 9-13, ¶¶ 4–7; ECF 9-14, ¶ 3; ECF 23-4, ¶ 5. Those facts further demonstrate Plaintiff States’

standing.   See Georgia, 2021 WL 5779939, at *7 (finding standing because “the State

Plaintiffs ... routinely enter into contracts that would be covered by” the mandate and they “have

current contracts that could easily fall under the requirements of [the mandate] (if, for instance,

they are renewed, modified, or have options that are exercised)”).

        And to the extent the Government has demanded modifications to existing contracts with

Plaintiff States, see, e.g., ECF 9-12, ¶¶ 9–31, that too confers standing.            “[T]he fact that

governmental agencies are already requesting that current contracts … comply with the vaccine

mandate indicates a threat of future harm to the Plaintiffs” since “it stands to reason that contractors

who do not comply will likely be blacklisted.” Kentucky, 2021 WL 5587446, at *4.

        Standing also exists since Plaintiff States will have to implement the mandate for thousands

of state employees, see ECF 9-6, ¶¶ 5–6, thus imposing substantial administrative and financial

burdens, see, e.g., ECF 9-6, ¶ 9; ECF 9-10, ¶¶ 3–5; ECF 23-4, ¶¶ 10–11, and the anticipated loss

of unvaccinated state employees, see, e.g., ECF 9-6, ¶¶ 7–8, 10–11; ECF 9-14, ¶¶ 5–8; ECF 27,

¶ 31. Those harms are legally cognizable. See Georgia, 2021 WL 5779939, at *4 (discussing the

“undertakings” needed “to comply”). Also, some Plaintiff States may forego their contracts and

the accompanying federal funds rather than accept the mandate. See, e.g., ECF 9-13, ¶¶ 8–12.

That, too, is a sufficient injury for standing. See Dep’t of Com. v. New York, 139 S. Ct. 2551, 2565

(2019) (loss of “federal funding” supports standing).

        Lastly, Plaintiff States are “entitled to special solicitude in the standing analysis” and may

“litigate as parens patriae to protect quasi-sovereign interests—i.e., public or governmental

interests that concern the state as a whole.” Massachusetts, 549 U.S. at 520 & n.17. In 2020 alone,




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over $27 billion in federal contracts featured Plaintiff States as the place of performance. ECF 27,

¶ 29. Thus, countless businesses and workers in those States will be subject to and harmed by the

mandate, and Plaintiff States have standing to raise those interests. See Kentucky, 2021 WL

5587446, at *3–4 (concluding that these kinds of facts establish standing).

         Mootness: Nor are there mootness issues because of the November rationalization. “[T]he

voluntary repeal of a regulation does not moot a case if there is reason to believe the agency will

reinstitute it.” Akiachack Native Cmty. v. U.S. Dep’t of Interior, 827 F.3d 100, 106 (D.C. Cir.

2016). Likewise here: The Task Force Guidance OMB approved in November is substantively

the same as the one approved in September. See ECF 27, ¶ 25 (noting two minor differences

between the two); see also ECF 23, at 7 (noting that the Government’s arguments about whether

OMB’s determination was arbitrary and capricious supports this position). OMB admits as much.

The November rationalization’s title says it includes a “Revised Economy & Efficiency Analysis.”

86 Fed. Reg. 63,418, 63,418. That implies that the original rule is still in force and only the

supporting analysis has changed. Thus, the contractor mandate exists now in essentially the same

form as it did at the start of the litigation. This Court can provide Plaintiff States with the same

type of relief they sought at the outset, and so the case isn’t moot. See, e.g., Knox v. Serv. Emp.

Int’l Union, Local 1000, 567 U.S. 298, 307–08 (2012). 4



4
  That the Southern District of Georgia issued a nationwide preliminary injunction does not moot
Plaintiff States’ requests for a declaration that the contractor mandate is invalid, vacatur of OMB’s
September determination and November rationalization and the FAR Memorandum, and a
permanent injunction against the mandate. That relief is different in kind from a preliminary
injunction, which is necessarily “of limited duration” and will expire after a ruling on the merits.
California v. U.S. Dep’t of Health & Hum. Servs., 941 F.3d 410, 423 (9th Cir. 2019), judgment
vacated on other grounds, 141 S. Ct. 192 (2020). Moreover, the nationwide preliminary injunction
might soon be stayed or limited in scope on appeal, thus invoking the “capable-of-repetition yet
evading review” exception to mootness. See United States v. Sanchez-Gomez, 138 S. Ct. 1532,
1540 (2018). Indeed, the Eleventh Circuit held that a State’s request for an injunction against the
federal CMS vaccine mandate for healthcare workers was not moot because a different district


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       Final Agency Action: Finally, OMB’s and FAR’s actions are final agency action. That

OMB’s determination may be an exercise of the President’s Procurement Act authority, see ECF

20, at 17–18, is irrelevant—especially where the issue is the legality of OMB’s actions. “It is now

well established that ‘[r]eview of the legality of Presidential action can ordinarily be obtained in a

suit seeking to enjoin the officers who attempt to enforce the President’s directive.’ ... [R]eview

of the OMB Determination is appropriate in this case.” Kentucky, 2021 WL 5587446, at *11

(quoting Chamber of Commerce v. Reich, 74 F.3d 1322, 1328 (D.C. Cir. 1996) (quoting

Franklin v. Massachusetts, 505 U.S. 788, 815 (1992) (Scalia, J., concurring in part and concurring

in judgment)); see also Hagemeier v. Block, 806 F.2d 197, 203 (8th Cir. 1986).

       While the Kentucky court said the FAR Guidance (which contains the contract clause

incorporating the contractor mandate) did not constitute final agency action, see id., its conclusion

is incorrect. The Kentucky court relied, first, on the fact that the guidance was an initial step under

EO 14,042. See id. But “interim agency resolution counts as final agency action despite the

potential for a different permanent decision, as long as the interim decision is not itself subject to

further consideration by the agency.” Nat. Res. Def. Council v. Wheeler, 955 F.3d 68, 78 (D.C.

Cir. 2020). And the Kentucky’s court view that FAR’s action “constitutes nonbinding guidance,”

2021 WL 5587446, at *11, ignores that EO 14,042 generally requires agencies to include it, see

§ 2(a), and thus “alters the legal regime to which [another] agency is subject” and “has a powerful

coercive effect” on agencies. Bennet v. Spear, 520 U.S. 154, 169 (1997). Indeed, the guidance

says that civilian agencies that incorporate the provided clause are “presumed to have consulted

with the” CAAC “as required by FAR 1.404(a)(1),” Ex. F, at 3, which clearly “alter[s] the legal




court preliminarily enjoined that mandate nationwide. See Florida v. Dep’t of Health & Human
Servs., 2021 WL 5768796, at *6–*11 (11th Cir. Dec. 6, 2021).


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regime to which” agencies are subject and establishes finality. Bennett, 520 U.S. at 178.

       Tucker Act: Contrary to Defendants’ prior suggestion, see ECF 20, at 38, Plaintiff States

need not bring their claims in the Court of Federal Claims. As the Federal Circuit has repeatedly

affirmed, “the proper method” for a federal contractor “to challenge the validity of a regulation

governing a procurement ... is to bring an action in federal district court under the Administrative

Procedure Act,” just as Plaintiff States have done here. Southfork Sys., Inc. v. United States, 141

F.3d 1124, 1135 (Fed. Cir. 1998); see also Land Shark Shredding, LLC v. United States, 842 F.

App’x 589, 593 (Fed. Cir. 2021).

II.    The Contractor Mandate is unlawful, procedurally defective, and unconstitutional.

       A.      The Procurement Act does not authorize the contractor mandate.

       Per EO 14,042 (Exhibit C), the contractor mandate is an exercise of the President’s

authority under the Procurement Act (also called the Federal Property Administrative Services

Act, or FPASA), 40 U.S.C. § 101 et seq. See EO 14,042 § 2(a); see also 86 Fed. Reg. at 63,418;

86 Fed. Reg. at 53,692. The question, then, is whether a law “designed to centralize Government

property management and to introduce into the public procurement process the same flexibility

that characterizes such transactions in the private sector,” AFL-CIO v. Kahn, 618 F.2d 784, 787

(D.C. Cir. 1979) (en banc), authorizes a regulation mandating that a contractor’s workforce (and

their subcontractors’ employees) get vaccinated. As two district courts have recently said, it does

not. Georgia, 2021 WL 5779939, at *8–*10; Kentucky, 2021 WL 5587446, *5–*10.

               1.      Other laws bar the contractor mandate.

       EO 14,042 and the contractor mandate cannot stand because they conflict with two other

laws. See Reich, 74 F.3d at 1332. The first is the Procurement Policy Act, which permits only the

FAR Council to “issue and maintain” procurement regulations. 41 U.S.C. § 1303(a)(1)–(2).

Individual agencies, by contrast, can only issue “regulations essential to implement Government-


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wide policies and procedures within the agency.” § 1303(a)(2)(A) (emphasis added). EO 14,042,

however, gives OMB power to determine whether federal agencies “shall” incorporate the

contractor mandate in federal contracts. § 2(a). That is power reserved to the FAR Council, and

the President cannot give it to OMB.

       The other law is the Competition in Contracting Act (CICA). The CCIA requires “full and

open competition” in procuring services. 31 U.S.C. § 3301(a)(1). Agencies cannot preclude “full

and open competition by effectively excluding an offeror from winning an award,” particularly

offerors that “represent[] the best value to the government.” Nat’l Gov’t Servs, Inc. v. United

States, 923 F.3d 977, 990 (Fed. Cir. 2019). But the contractor mandate does exactly that—

“contractors who ‘represent[] the best value to the government’ but choose not to follow the

vaccine mandate would be precluded from effectively competing for government contracts.”

Kentucky, 2021 WL 5587446, at *8 (quoting Nat’l Gov’t Servs, 923 F.3d at 990).

               2.     The Procurement Act does not authorize the contractor mandate.

       1. The Procurement Act does not authorize the President to issue regulations—that is, to

impose conditions that “address [contractor] conduct unrelated to the employer’s performance of

contractual obligations to the Government.” Building & Constr. Trades Dep’t v. Allbaugh, 295

F.3d 28, 36 (D.C. Cir. 2002) (alterations omitted) (quoting Building & Constr. Trades Council v.

Associated Builders & Contractors, 507 U.S. 218, 228–29 (1993)). That is because 40 U.S.C.

§ 121(a), which purportedly authorizes EO 14,042, does not allow for that. Section 121(a)

provides that “[t]he President may prescribe policies and directives that [he] considers necessary

to carry out this subtitle.” But prescribing “policies and directives” is different from issuing

regulations—as the statutory context shows. Section 121(c), for example, authorizes the GSA

Administrator to “prescribe regulations to carry out this subtitle.” The words thus have different

meanings; “where Congress includes particular language in one section of a statute but omits it in


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another section of the same Act, it is generally presumed that Congress acts intentionally and

purposely in the disparate inclusion or exclusion.” United States v. Daifullah, 11 F.4th 888, 894

(8th Cir. 2021) (quotations and alterations omitted). That was not an oversight. Elsewhere in the

Procurement Act (§ 603) and in the U.S. Code (18 U.S.C. § 3496 and 32 U.S.C. § 110), Congress

expressly provided the President power to issue regulations, proving that it did not do so in § 121.

See Sosa v. Alvarez-Machain, 542 U.S. 692, 711 n.9 (2004).

        That conclusion is consistent with the traditional distinction in administrative law between

regulations and policies—a distinction predating the Procurement Act. See, e.g., Chrysler Corp. v.

Brown, 441 U.S. 281, 302 n.31 (1979) (discussing 1941 and 1947 materials from the Attorney

General relating to the APA). Thus, that distinction applies to § 121(a). See Bragdon v. Abbott,

524 U.S. 624, 645 (1998) (reading new statutory language that repeats language with well-settled

interpretations as including those interpretations). It is also consistent with the fact that “directive”

is akin to “policy,” see Directive, Webster’s 3d New International Dictionary (2002) (“something

that serves to direct, guide, and usu. impel toward an action, attainment, or end”), and the statutory

linkage (they appear close to each other) between the two, see Antonin Scalia & Bryan A. Garner,

Reading Law: The Interpretation of Legal Texts 196–98 (2012) (applying noscitur a sociis when

“terms [are] conjoined in such a way to indicate that they have some quality in common”).

        The law’s history underscores all this. Prior to 2002, the Procurement Act gave the

President authority to prescribe policies and directives that “shall govern the Administrator [of the

GSA] and executive agencies in carrying out their respective functions” under the Procurement

Act. 40 U.S.C. § 486(a) (2001) (emphasis added). “Congress added [that section] to guarantee

that Presidential policies and directives shall govern not merely guide the agencies under the

FPASA.” Kahn, 618 F.2d at 788 (quotations omitted). But that is a supervisory, not regulatory,




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role, see id., and thus vests the President only with “authority to direct” agencies in performing

their “functions under FPASA provisions.” AFL-CIO v. Carmen, 669 F.2d 815, 822 (D.C. Cir.

1981); see also Reich, 74 F.3d at 1333. Since Congress re-enacted that provision into 40 U.S.C.

§ 121(a) “without substantive change,” Pub. L. No. 107-217, § 1, 116 Stat. 1062, 1062 (2002),

§ 121(a) carries forward that supervisory authority—and no more.

       EO 14,042 and the contractor mandate, however, are not exercises of supervisory authority

directing agencies’ implementation of the Procurement Act; they are regulations supervising health

and safety by demanding that those who “want to do business with the federal government

vaccinate [their] workforce.” ECF 27, ¶ 12 (quoting Pres. Biden). That much is clear from their

breadth. Employers with covered contracts effectively must ensure that all their employees are

vaccinated. For example, “[e]mployees who perform duties necessary to the performance of the

covered contract, but who are not directly engaged in performing the specific work ... such as

human resources, billing, and legal review” are covered as those working “in connection with” a

federal contract. Ex. H, at 75. And employees who do not work on a federal contractor but may

interact with those who do in “common areas such as lobbies ... and parking garages” must also

be vaccinated. Id. 70–71. Thus, merely saying “hello” to a coworker in a parking garage brings

an employee under the contractor mandate. That is on top of mandating vaccination of employees

who pose little COVID-19 risk such as those who recovered from a prior infection, see id. at 68, 5

those who work outdoors, id. at 70, 6 and those who work from home, id. at 71.

       That clearly amounts to a health and safety regulatory scheme. See Reich, 74 F.3d at 1338




5
  Infection-mediated immunity is “as robust and durable (or more) as that acquired through
vaccination.” ECF 9-5 ¶ 31.
6
  People are less likely to get COVID-19 outdoors. See CDC, Participate in Outdoor and Indoor
Activities, https://bit.ly/3GurciW (last visited Dec. 9, 2021).


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(noting the potential regulatory nature of such broad rules). That the mandate appears in federal

contracts is irrelevant to that conclusion; its “manifest purpose and inevitable effect” is the

regulation of health and safety so it is not “a legitimate response to [federal] procurement

constraints or to ... economic need.” Wis. Dep’t of Indus., Labor & Human Relations v. Gould

Inc., 475 U.S. 282, 291 (1986). It is thus no different from the OSHA mandate, and like that

mandate, its sole purpose is to “ramp up vaccine uptake by any means necessary.” BST Holdings

L.L.C. v. OSHA, 17 F.4th 604, 615, 616 (5th Cir. 2021). Indeed, that OSHA imposed basically the

same requirement as a workplace safety rule proves that the contractor mandate is about health

and welfare, not procurement. See Kentucky, 2021 WL 5587446, at *8.

       2. Nor is the contractor mandate “consistent with” the Procurement Act’s purpose of

providing “the Federal Government with an economical and efficient system” of procurement. 40

U.S.C. §§ 101, 121; see also United States v. Oseby, 148 F.3d 1016, 1018 (8th Cir. 1998). That

statutory requirement limits presidential authority to those actions that “achieve a flexible

management system capable of making sophisticated judgments in pursuit of economy and

efficiency.” Kahn, 618 F.2d at 789. The Procurement Act “was not intended to achieve a wide

variety of economic and social goals.” Comm. for Auto Responsibility (C.A.R.) v. Solomon, 603

F.2d 992, 999 n.23 (D.C. Cir. 1979). Presidents, and their delegates, cannot use the law “to impose

their notions of desirable social legislation on the states wholesale.” Contractors Ass’n of E. Pa. v.

Sec’y of Labor, 442 F.2d 159, 171 (3d Cir. 1971).

       Thus, the Procurement Act’s reach, however broad, see, e.g., UAW-Labor Employment and

Training Corp. v. Chao, 325 F.3d 360, 367 (D.C. Cir. 2003), is “not intended to operate as a ‘blank

check for the President to fill in at his will.’” Georgia, 2021 WL 5779939, at *10 (quoting Kahn,

618 F.2d at 793). Instead, the presidential prescriptions “must be ‘reasonably related’ to the




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purposes of the Procurement Act.” Id. (quoting Liberty Mut. Ins. Co. v. Friedman, 939 F.2d 164,

170 (4th Cir. 1981)). Only when “the President prescribes policies and directives bearing an actual

and logical relationship to [procurement], [has] he lawfully exercise[d] his powers under” the Act.

Kahn, 618 F.2d at 800 (MacKinnon, J., dissenting). In other words, there must be a “sufficiently

close nexus between” economy and efficiency and a purported Procurement Act policy. Id. at 792;

see also id. at 797 (Bazelon, J., concurring); id. (Tamm, J., concurring).

       The contractor mandate fails that requirement—as two courts have said. Georgia, 2021

WL 5779939, at *10; Kentucky, 2021 WL 5587446, at *7. President Biden was quite clear about

the mandate’s goal: “I’m announcing tonight a new plan to require more Americans to be

vaccinated. ... [W]e must increase vaccinations among the unvaccinated with new vaccination

requirements.” Ex. B, at 3–4. The contractor mandate’s incredible reach, as discussed above,

highlights this by requiring employees with little to no connection to federal contracts or little to

no risk of spreading COVID-19 to vaccinate. It is hard to see how that has anything to do with

ensuring an “economical and efficiency system for ... procurement and supply.” 40 U.S.C.

§ 101(1). To the contrary, the mandate will impose “extensive and costly administrative work by

employers and will force at least some individuals to choose between getting medical treatment

that they do not want or losing their job.” Georgia, 2021 WL 5779939, at *10; see also Ex. K;

ECF 9-6, ¶¶ 5–8; ECF 9-10, ¶¶ 3–5; ECF 9-12, ¶¶ 32–45; ECF 9-14, ¶¶ 4–8; ECF 23-4, ¶¶ 8–12;

ECF 27, ¶ 31; cf. 86 Fed. Reg. at 63,422 (providing anecdotes showing less than 100% of workers

comply with vaccine mandates). Even by its own terms, the mandate is not closely related to

procurement. The purported justification for the mandate’s economy and efficiency is reducing

the spread of COVID-19. See, e.g., EO 14,042, § 1; 86 Fed. Reg. at 53,692. But the vaccine’s

ability to do that is unknown and imperfect, as the Government admits. See ECF 27 ¶ 9. And the




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purported link between the vaccine and procurement rests on a series of conclusory, inferential

chains. See EO 14,042 § 1; 86 Fed. Reg. at 63,423; 86 Fed. Reg. at 53,692.

       That inferential, basically hypothetical, “downstream connection” is “markedly different

from” ensuring efficient procurement. Ala. Ass’n of Realtors v. Dep’t of Health & Human Servs.,

141 S. Ct. 2485, 2488 (2021) (discussing the CDC’s COVID-19 eviction moratorium). The nexus

between the contractor mandate and federal procurement is thus not close; the mandate “radiate[s]

too far beyond the purposes of the Procurement Act and the authority it grants to the President.”

Georgia, 2021 WL 5779939, at *10. Indeed, it radiates so far beyond the Procurement Act that

the Government’s rationale “could be used to enact virtually any measure at the president’s whim.”

Kentucky, 2021 WL 5587446, at *7.

       Well-settled principles of statutory interpretation confirm that the Procurement Act does

not reach this far. Absent a clear statement from Congress, courts should not read laws to allow

the executive branch to upset the federal-state balance, push the outer bounds of constitutional

power, or address issues of major economic and political significance. See ECF 9, at 21–24. Those

principles apply here. The Georgia court noted this concerning both the contractor mandate and

EO 14,042. See 2021 WL 5779939, at *9. And the Kentucky court pointed out the constitutional

concerns en route to enjoining the contractor mandate. See 2021 WL 5587446, at *8–*10.

       Those same principles are also ubiquitous in court rulings enjoining the administration’s

other mandates. See BST Holdings, 17 F.4th at 616–18 (limits of constitutional power and major

questions); id. at 619 (Duncan, J., concurring) (major questions); Louisiana v. Becerra, 2021 WL

5609846, at *11, *15–*16 (W.D. La. Nov. 30, 2021) (similar). Indeed, a court in this district

enjoined the CMS vaccine mandate in part because Congress had not clearly authorized CMS “to

exercise powers of vast economic and political significance,” alter “the balance between federal




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and state power,” and make “an administrative interpretation of a statute that invokes the outer

limits of Congress’ power.” Missouri v. Biden, 2021 WL 5564501, at *2–*4 (E.D. Mo. Nov. 29,

2021) (Schelp, J.) (quotations omitted). And the U.S. Supreme Court stayed a CDC moratorium

on evictions since it was an exercise of power of “vast economic and political significance” and

altered “the balance between federal and state power and the power of the Government over private

property” without a clear statement from Congress. Ala. Ass’n of Realtors, 141 S. Ct. at 2489. 7

See also Gonzales v. Oregon, 546 U.S. 243, 267–68, 270–75 (2006) (applying similar principles

in rejecting the federal government’s claim that the Attorney General could use the Controlled

Substances Act to prohibit state physicians from prescribing drugs for assisted suicides).

       This Court should not deviate from those opinions. Given how far it reaches beyond

activities related directly to federal procurement, the contractor mandate plainly intrudes on areas

of traditional state power and pushes constitutional limits. See, e.g., infra Section II.C; ECF 9, at

21–23. And “the amount of money involved ... , the overall impact on the economy, the number

of people affected, and the degree of congressional and public attention” on vaccination confirms

that the mandate is an attempt to exercise power over an issue of great economic and political

significance. U.S. Telecom Ass’n v. FCC, 855 F.3d 381, 422–23 (D.C. Cir. 2017) (Kavanaugh, J.,

dissenting from denial of rehearing en banc). But absent from the Procurement Act is any

indication—much less a clear statement—that Congress authorized such a mandate. See id. at 421.

       In fact, there is evidence that Congress does not authorize vaccine mandates. The National

Vaccine Program requires the Department of Health and Human Services to create a plan to

provide “assistance to States, localities, and health practitioners in the distribution and use of



7
 An Eleventh Circuit motions panel rejected application of the major questions rule to the CMS
mandate. See Florida, 2021 WL 5768796, at *12–*13 & n.1. But its analysis is wrong as the
dissent persuasively explains. See id. at *24–*25 (Lagoa, J., dissenting).


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vaccines, including efforts to encourage public acceptance of immunizations ... .” 42 U.S.C.

§ 300aa-2(a)(6) (emphases added); see also 42 U.S.C. §§ 247d(b)(2)(A), 247d-1(a)–(b) (involving

vaccines and public health generally). “Assistance” and “encouragement” are quite different from

a mandate, and they suggest a congressional preference for suasion. That is consistent with the

fact that where Congress did impose vaccine-related requirements, it spoke clearly. See 42 U.S.C.

§ 1396u-7(b)(8) (requiring States to include COVID-19 vaccinations as part of their benchmark

coverage under Medicaid). It did not do so in the Procurement Act—and its silence is telling.

                                              ***

       There is thus no textual, contextual, or other reason to conclude the Procurement Act

authorizes the contractor mandate—and, until this administration, no one has ever thought it did.

See Georgia, 2021 WL 5779939, at *10. “When an agency claims to discover in a long-extant

statute an unheralded power to regulate a significant portion of the American economy, we

typically greet its announcement with a measure of skepticism.” See Util. Air Regulatory Grp. v.

EPA, 573 U.S. 302, 324 (2014) (quotation omitted). That skepticism is justified here.

       B.     The Defendants failed to follow the necessary procedures.

       OMB and the FAR Council also failed to follow the proper procedure (whether under the

APA, 5 U.S.C. § 553, or Procurement Policy Act, 41 U.S.C. § 1707) when issuing the contractor

mandate. Whether the Government complied with procedural requirements is reviewed de novo.

See Citizens Telecomms. Co. of Minn. v. FCC, 901 F.3d 991, 1001 (8th Cir. 2018). And since

“[n]otice and comment procedures secure the values of government transparency and public

participation,” exceptions “must be narrowly construed.” Iowa League of Cities v. EPA, 711 F.3d

844, 873 (8th Cir. 2013) (quotations omitted); see also Missouri, 2021 WL 5564501, at *4.

       As Plaintiff States showed, OMB and FAR needed but failed to comply with § 1707 or

§ 553 in issuing the mandate. See ECF 9, at 31–33; ECF 23, at 12–13. The Kentucky court’s


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contrary conclusion as to OMB’s determination is incorrect. The court said that OMB’s November

rationalization mooted challenges to the September determination and that the rationalization

complied with § 1707(d)’s waiver requirement. See 2021 WL 5587446, at *11–*12. But the

former ignores that OMB’s November rationalization was not new agency action. See supra

Section I; ECF 23, at 13. And the latter ignores that OMB’s November rationalizations are facially

implausible and insufficient. See ECF 23, at 13. To the extent OMB claims a compelling need to

ensure regulatory certainty and consistency, see 86 Fed. Reg. at 63,423–24, those interests

“reflect[] a generalized concern that exists any time an act requires further substantive rulemaking”

and do not justify avoiding notice and comment. United States v. Brewer, 766 F.3d 884, 889 (8th

Cir. 2014). To the extent the justification is the threat from COVID-19, see 86 Fed. Reg. at 63,423,

“an agency’s conclusion that bypassing notice and comment requirements is necessary to protect

the public safety” is not an automatic excuse. Missouri, 2021 WL 5564501, at *6 (citing, inter

alia, Brewer, 766 F.3d at 889). The agency must “point to something specific that illustrates a

particular harm that will be caused by the delay required for notice and comment.” Brewer, 766

F.3d at 890. The Government has failed to make that particularized showing here.

       The Kentucky court also ignored “the unprecedented, controversial, and health-related

nature of the mandate.” Missouri, 2021 WL 5564501, at *6. That is a compelling justification for

notice and comment. Ignoring procedural rules “undermines the democratic process that [they]

are intended to protect” and the rule’s legitimacy. See id. at *7. Thus, “[f]ar from [justifying]

circumventing the normal rulemaking requirements, the unprecedented and controversial mandate

affecting personal health constitutes a compelling reason to utilize those procedures.” Id.

       C.      The contractor mandate is unconstitutional.

       Multiple courts “have either expressed agreement with or at least concern about” Plaintiff

States’ claims that the contractor mandate violates the Tenth Amendment, falls outside the power


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conferred by the Spending Clause or Commerce Clause, and violates the non-delegation doctrine.

Georgia, 2021 WL 5779939, at *11 (citing BST Holdings, 17 F.4th at 616–18, and Kentucky, 2021

WL 5587446, at *9).          A law empowering the federal executive “to make sweeping

pronouncements on matters of public health affecting every member of society in the profoundest

of ways” is unconstitutional. BST Holdings, 17 F.4th at 611. Because the contractor mandate does

exactly that, reading the Procurement Act to authorize the mandate renders the Act unconstitu-

tional. See ECF 9, at 33–37; ECF 23, at 15–18.

       That the contractor mandate is imposed through federal contracts doesn’t alter the conclu-

sion. As explained above, the contractor mandate is, in reality, a health and safety regulation for

federal contractors. See supra Section II.A. Such regulations, however, “are, in the first instance,

for” the States and “do not ordinarily concern the national government.”                Jacobson v.

Massachusetts, 197 U.S. 11, 38 (1905).

       But to the extent the contract context matters, all it does is underscore that the Spending

Clause does not authorize the federal government to impose the mandate. Conditions on federal

spending must “relate[] to the federal interest in particular national projects or programs.” Van

Wyhe v. Reisch, 581 F.3d 639, 650 (8th Cir. 2009) (quotations omitted). They do not when they

regulate “conduct outside the scope of the” federal contract. Rust v. Sullivan, 500 U.S. 173, 197

(2000) (discussing grants). Requiring contractors to vaccinate everyone who works in the same

general location as those working on a federal contract, including those with little risk of spreading

COVID-19, is certainly that. Cf. Georgia, 2021 WL 5779939, at *10 (The mandate “radiate[s] too

far beyond the purposes of the Procurement Act.”).

       The contractor mandate also violates the Spending Clause for another reason: the federal

policy embodied in the mandate can change on a moment’s notice. The updated Guidance requires




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 compliance with the ever-changing FAQs the Task Force lists on its website. See 86 Fed. Reg. at

 63,421 (providing the link in a copy of the Guidance). And EO 14,042 authorizes OMB, the Task

 Force, and FAR to make binding alterations to the Guidance at any time. The ability to alter

 contract terms mid-performance, with no guidance as to what those alterations may be, is not the

 kind of unambiguous contract condition that passes constitutional muster. See Van Wyhe, 581

 F.3d at 650; see also Ohio v. Yellen, 2021 WL 2712220, at *15 (S.D. Ohio July 1, 2021).

III.     The Court should vacate the OMB Determination and FAR Memorandum and enjoin
         enforcement of the contractor mandate.

         Because Counts Five, Six, Seven, Eight, and Nine allege that the OMB Determination—

 that is, the September determination and November rationalization—and the FAR Memorandum

 are unconstitutional, lack a statutory basis, and are procedural defective under the APA, 5 U.S.C.

 § 706(2), “[t]he ordinary practice is to vacate” them. United Steel v. Mine Safety & Health Admin.,

 925 F.3d 1279, 1287 (D.C. Cir. 2019). And since the contractor mandate’s problem is its illegality,

 there is no reason to depart from ordinary practice. See United Food & Commercial Workers

 Union, Local No. 663 v. U.S. Dep’t of Agric., 532 F. Supp. 3d 741, 778 (D. Minn. 2021).

         A permanent injunction is also appropriate. Besides actual success on the merits, a

 permanent injunction issues after consideration of the “threat of irreparable harm to the movant,”

 the balance of harms between the movant and other parties, and “the public interest.” Laredo

 Ridge Wind, LLC v. Neb. Pub. Power Dist., 11 F.4th 645, 654 (8th Cir. 2021) (quoting Forest Park

 II v. Hadley, 336 F.3d 724, 731 (8th Cir. 2003)). The last two factors merge where the party

 opposing the injunction is the federal government. See, e.g., Missouri, 2021 WL 5564501, at *14.

 All these factors justify injunctive relief here.

         Irreparable Harm: Plaintiff States have suffered a number of irreparable harms. One is

 sovereign harms. “State[s] ... suffer irreparable harm” when they are “precluded from applying



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[their] duly enacted legislation.” Org. for Black Struggle v. Ashcroft, 978 F.3d 603, 609 (8th Cir.

2020). Plaintiff States have many laws addressing vaccines and compulsory vaccination, see ECF

9, at 38–39, that the mandate purports to preempt or arguably preempts, see Ex. H, at 79. That

establishes irreparable harm. See BST Holdings, 17 F.4th at 618 (“The States ... have an interest

in seeing their constitutionally reserved police power over public health policy defended from

federal overreach.”). So, too, does the unlawful commandeering of State employees and policies.

       Another set of irreparable harms are those Plaintiff States have and will experience in their

roles as federal contractors. Plaintiff States and their agencies “are now having to make tough

choices about whether they will choose to comply with the vaccine mandate or lose out on future

federal government contracts.” Kentucky, 2021 WL 5587446, at *13. Some of their agencies have

already seen the Government unilaterally impose the mandate on them, see, e.g., ECF 9-7, ¶ 6;

others have been coerced into modifying their contracts to include the mandate, see, e.g., ECF 9-

7, ¶ 5; ECF 9-12, ¶¶ 9–31, 39–45; and others are quickly approaching contract renewals that

include the mandate, see, e.g., ECF 9-11, ¶¶ 4, 6, 8–11; ECF 9-12, ¶ 5. All of that has caused or

will cause Plaintiff States to undertake compliance efforts that entail substantial administrative,

planning, and financial burdens. See, e.g., ECF 9-6, ¶ 9; ECF 9-10, ¶¶ 3–5; ECF 23-4, ¶¶ 10–12.

Such “nonrecoverable compliance costs” and “the diversion of resources” constitute “irreparable

harm.” BST Holdings, 17 F.4th at 618; accord Georgia, 2021 WL 5779939, at *11 (finding “the

irreparable harm of nonrecoverable compliance”); Kentucky, 2021 WL 5587446, at *13 (same).

       Plaintiff States have also shown irreparable quasi-sovereign harm. When States assert their

own rights against the federal government, as Plaintiff States do here, they may also “litigate as

parens patriae to protect quasi-sovereign interests” of a substantial segment of their population.

Massachusetts, 549 U.S. at 520 n.17. Thus, Plaintiff States may raise the “irreparable injury”




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facing their millions of citizens who are “put to a choice between their job(s) and their jab(s),” BST

Holdings, 17 F.4th at 618; see also ECF 27, ¶ 31, and the harms facing federal contractors within

their borders that are threatened with economic ruin, Kentucky, 2021 WL 5587446, at *3. This

also establishes the irreparable “negative effect” that the contractor mandate would have “on the

economies” of Plaintiff States. Missouri, 2021 WL 5564501, at *13.

       Furthermore, remedies at law are inadequate for these injuries. See Monsanto Co. v.

Geertson Seed Farms, 561 U.S. 139, 156–57 (2010). “Irreparable harm,” by definition, “occurs

when a party has no adequate remedy at law.” Gen. Motors Corp. v. Harry Brown’s, LLC, 563

F.3d 312, 319 (8th Cir. 2009). Even assuming Plaintiff States could sue the Government for

damages, no amount of monetary relief could compensate Plaintiff States for suspending

enforcement of their public-health laws, incurring nonrecoverable compliance costs, or allowing

the Government to dictate their citizens’ private medical decisions.

       Balance of Harms and Public Interest: The balance of hardships and public interest also

weigh strongly in favor of issuing a permanent injunction. “[A]ny abstract ‘harm’ [an injunction]

might cause the [Government] pales in comparison and importance to the harms the absence of

[an injunction] threatens to cause countless individuals and companies.” BST Holdings, 17 F.4th

at 618; accord Georgia, 2021 WL 5779939, at *12; Kentucky, 2021 WL 5587446, at *13 (same).

The requested injunction would “do nothing more than maintain the status quo.” Georgia, 2021

WL 5779939, at *12. In contrast, denying the injunction “would force Plaintiffs to comply with

the mandate, requiring them to make decisions which would significantly alter their ability to

perform federal contract work ... critical to their operations.”       Id.; see, e.g., ECF 9-6, ¶ 4

(University of Missouri has 230 contracts); ECF 9-7, ¶ 4 (Iowa universities receive $1.3 billion);

ECF 9-12, ¶ 5 (one Alaska university receives $200 million). “Additionally, requiring compliance




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with [the mandate] would likely be life altering for many of Plaintiffs’ employees [and employees

of other contractors in Plaintiff States] as Plaintiffs [and other contractors] would be required to

decide whether an employee who refuses to be vaccinated can ... be reassigned ... or whether the

employee instead must be terminated.” Georgia, 2021 WL 5779939, at *12.

       The Government, by contrast, has no legitimate interest “in enforcing an unlawful”

mandate. BST Holdings, 17 F.4th at 618; see also Ala. Ass’n of Realtors, 141 S. Ct. at 2490. Nor

will an injunction “harm the public interest in slowing the spread of COVID-19.” ECF 20, at 40.

The Government admits that “[t]he duration of vaccine effectiveness in preventing COVID-19,

reducing disease severity, reducing the risk of death, and the effectiveness of the vaccine to prevent

disease transmission by those vaccinated are not currently known.” ECF 27, ¶ 9. That fatally

“undercut[s] this argument.” Missouri, 2021 WL 5564501, at *14.

                                          CONCLUSION

       For those reasons, Plaintiff States respectfully request that the Court: (1) declare the

contractor mandate, and all similar orders, unlawful and unconstitutional; (2) vacate the OMB

September determination and subsequent November rationalization; and (3) enjoin enforcement

of the contractor mandate and all similar orders.




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Dated: December 10, 2021                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on December 10, 2021, a true and correct copy of the foregoing and

any attachments were filed electronically through the Court’s CM/ECF system, to be served on

counsel for all parties by operation of the Court’s electronic filing system and to be served on those

parties that have not appeared who will be served in accordance with the Federal Rules of Civil

Procedure by mail or other means agreed to by the party.

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